Case 9:23-cr-80101-AMC Document 130 Entered on FLSD Docket 08/22/2023 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON(s)


  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                              THIRD SPEEDY TRIAL REPORT

            Pursuant to Local Rule 88.5 and the Court’s Omnibus Order Setting Trial Date and

  Establishing Pretrial Instructions and Sentencing Procedures (ECF No. 28), both of which require

  the filing of Speedy Trial Reports, the United States hereby files this Speedy Trial Report regarding

  the status of this case under the Speedy Trial Act of 1984, 18 U.S.C. § 3161 et seq. (“Speedy Trial

  Act”).1

            In its July 21 Order Granting in Part Government’s Motion to Continue Trial and Resetting

  Deadlines (ECF No. 83), the Court excluded all of the time between the date of that Order and the

  trial date of May 20, 2024, pursuant to 18 U.S.C. § 3161(h)(7)(A). By Order dated August 21,

  2023 (ECF No. 128), the Court extended its earlier Order to Defendant De Oliveira. Thus, all time

  under the Speedy Trial Act is now tolled through May 20, 2024.



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   Counsel for Defendants Trump and Nauta have reviewed this filing and have authorized the
  Government to represent that they concur with the Speedy Trial Act calculations set forth herein.
  Counsel for Defendant De Oliveira will be filing a separate Speedy Trial Report.
Case 9:23-cr-80101-AMC Document 130 Entered on FLSD Docket 08/22/2023 Page 2 of 3




           In the Second Speedy Trial Report (ECF No. 93), the parties – i.e., the Government and

  Defendants Trump and Nauta – agreed that the addition of Defendant De Oliveira in the

  Superseding Indictment reset the Speedy Trial clock for all Defendants. Accordingly, if for any

  reason the Speedy Trial clock begins to run after May 20, 2024, 70 days remain before a trial must

  begin.

                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel


                                       By:     /s/ Jay I. Bratt
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                                                  2
Case 9:23-cr-80101-AMC Document 130 Entered on FLSD Docket 08/22/2023 Page 3 of 3




                                  CERTIFICATE OF SERVICE

        I, Jay I. Bratt, certify that on August 22, 2023, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF.


                                               /s/ Jay I. Bratt__________________
                                               Jay I. Bratt




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